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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 0:22-cv-61228

   MICHAEL KELLEY,

           Plaintiff,

   v.

   TOPTENREALESTATEDEALS.COM, LLC
   and ROBERT WALSH,

           Defendants.


                                               COMPLAINT

         Plaintiff Michael Kelley (“Plaintiff”) sues defendants TopTenRealEstateDeals.com, LLC

  (“TopTenRealEstateDeals”) and Robert Walsh (“Walsh”) (collectively, the “Defendants”), and

  alleges as follows:

                                              THE PARTIES

         1.       Plaintiff is an individual who is a citizen of the State of California residing in the

  State of California.

         2.       TopTenRealEstateDeals is a limited liability company organized and existing under

  the laws of the State of Florida with its principal place of business located at 801 Briny Avenue,

  Apartment 804, Pompano Beach, FL 33062. TopTenRealEstateDeals’ agent for service of process

  is Robert Walsh, 801 Briny Avenue, Apartment 804, Pompano Beach, FL 33062.

         3.       Walsh is an individual who is a citizen of the State of Florida residing at 801 Briny

  Avenue, Apartment 804, Pompano Beach, FL 33062.

                                    JURISDICTION AND VENUE

         4.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§


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  1331 and 1338(a).

           5.     This Court has personal jurisdiction over Defendants because they maintained

  sufficient minimum contacts with Florida such that the exercise of personal jurisdiction over them

  would not offend traditional notions of fair play and substantial justice.

           6.     Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

  Defendants or their agents reside or may be found in this district. “A defendant ‘may be found’ in

  a district in which he could be served with process; that is, in a district which may assert personal

  jurisdiction over the defendant.” Palmer v. Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In

  other words, ‘if a court has personal jurisdiction over the defendants in a copyright infringement

  action, venue in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

  CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store

  Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill.

  1991).

                                                   FACTS

  I.       Plaintiff’s Business

           7.     Plaintiff is an accomplished professional photographer who specializes in

  architectural photography.

           8.     In   2018,      Plaintiff   founded       the   Architectural     Photography   Almanac

  (https://apalmanac.com/), a resource for architecture photographers and those in the architecture

  industry seeking to learn about the craft and theory of architecture photography.

           9.     Plaintiff’s clients include Tesla Motors, FedEx, Discovery Networks, HGTV,

  Herman Miller, MAD Architects, and many others.

           10.    Plaintiff’s work is highly sought after and has been exhibited in numerous art


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  galleries/museums around the world.

  II.    The Work at Issue in this Lawsuit

         A.      The City Centre Photograph

         11.     In 2016, Plaintiff created a professional photograph of an apartment located at Two

  Brickell City Centre in Miami, FL titled “Arquitectonica-71.jpg” (the “City Centre Photograph”).

  A copy of the City Centre Photograph is exhibited below:




         12.     The City Centre Photograph was registered by Plaintiff with the Register of

  Copyrights on July 12, 2019 and was assigned Registration No. VA 2-159-689. A true and correct

  copy of the Certification of Registration pertaining to the City Centre Photograph is attached hereto

  as Exhibit “A.”

         13.     Plaintiff is the owner of the First Photograph and has remained the owner at all


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  times material hereto.

         B.      The Owlwood Mansion Photographs

         14.     The Owlwood mansion/estate is a famed compound in Los Angeles, California that

  was one listed for $180 million and which sold for $88 million in 2020. A series of high-profile

  persons owned the home including 20th Century-Fox Chairman Joseph Schenck, oil tycoon

  William Keck, and Hotel Bel-Air founder Joseph Drown. Actor Tony Curtis lived there in the

  1960s, and he sold it to pop duo Sonny and Cher in the 1970s. In 2009, the property was acquired

  by Robert Shapiro, a real estate developer who a decade later was sentenced to 25 years in prison

  for running a $1.3 billion Ponzi scheme.

         15.     The property spans 10 acres and, absent invitation, is not publicly accessible given

  its exclusive nature.

         16.     In 2019, Plaintiff created a series of professional photographs of the interior and

  exterior of the Owlwood mansion (collectively, the “Owlwood Mansion Photographs”). The first

  of these photographs is titled “01_Office.jpg” and is exhibited below:




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           17.   The second of these photographs is titled “03_Dining_Owlwood-1.jpg” and is

  exhibited below:




           18.   The third of these photographs is titled “05_LR_oblique.jpg” and is exhibited

  below:




           19.   The fourth of these photographs is titled “08_hallway.jpg” and is exhibited below:
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           20.   The fifth of these photographs is titled “09_rear_elevation.jpg” and is exhibited

  below:




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           21.   The sixth of these photographs is titled “11_sitting_room-Edit.jpg” and is exhibited

  below:




           22.   The seventh of these photographs is titled “14_master_bed-Edit.jpg” and is

  exhibited below:




                                                     7
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           23.   The eighth of these photographs is titled “16_other_guest_bed.jpg” and is exhibited

  below:




           24.   The ninth of these photographs is titled “19_twilight_front.jpg” and is exhibited

  below:




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           25.   The tenth of these photographs is titled “24_poolhouse_1_pt.jpg” and is exhibited

  below:




           26.   The eleventh of these photographs is titled “25_poolhouse_interior.jpg” and is

  exhibited below:




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          27.    The twelfth of these photographs is titled “20190611-3Q4A0493-Edit.jpg” and is

   exhibited below:




          28.    The thirteenth of these photographs is titled “20190611-3Q4A0534-Edit.jpg” and

   is exhibited below:




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          29.    The fourteenth of these photographs is titled “20190612-3Q4A0677.jpg” and is

   exhibited below:




          30.    The fifteenth of these photographs is titled “20190612-3Q4A0692.jpg” and is

   exhibited below:




                                                     11
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           31.     The Owlwood Mansion Photographs were registered by Plaintiff with the Register

   of Copyrights on March 29, 2020 and were assigned Registration No. VA 2-201-948. A true and

   correct copy of a printout of the registration from the US Copyright Office is attached hereto as

   Exhibit “B.”

           32.     Plaintiff is the owner of the Owlwood Mansion Photographs and has remained the

   owner at all times material hereto.

           33.     The City Centre Photograph and the Owlwood Mansion Photographs are

   collectively referred to herein as the “Work.”

   III.    Defendants’ Unlawful Activities

           34.     TopTenRealEstateDeals is a media site purporting to showcase “the best and most

   interesting real estate deals on the web!” TopTenRealEstateDeals produces a “Hot Home News”

   feature on a weekly basis where it covers interesting, famous, historic, and celebrity homes that

   are currently for sale. The “Hot Home News” feature is sent every week to over 30,000 print,

   online, and broadcast media across the United States and Canada.

           35.     According to Walsh’s profile on LinkedIn, TopTenRealEstateDeals is “one of the

   top real estate news and entertainment websites in the United States.”

           36.     TopTenRealEstateDeals          advertises/markets its business primarily through its

   website           (https://toptenrealestatedeals.com),               social             media   (e.g.

   https://www.facebook.com/toptenrealestat/), and other forms of advertising.

           37.     Walsh is the sole member and manager of TopTenRealEstateDeals. Walsh has

   exclusive control over the business activities of TopTenRealEstateDeals, including but not limited

   to the infringing activities that are the subject of this lawsuit.

           38.     In May 2019 (after Plaintiff’s above-referenced copyright registration of the City


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   Centre Photograph), TopTenRealEstateDeals published a copy of the City Centre Photograph on

   its business website (at https://toptenrealestatedeals.com/condo/brickell-city-centre) in connection

   with an article titled “Brickell City Centre from $600s!”:




          39.     A true and correct copy of screenshots of TopTenRealEstateDeals’ website,

   displaying the City Centre Photograph, is attached hereto as Exhibit “C.”


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          40.    In addition to displaying the City Centre Photograph on its website,

   TopTenRealEstateDeals likewise intentionally induced and/or caused multiple third-parties to

   display/publish the City Centre Photograph on their websites.

          41.    In January 2021 (after Plaintiff’s above-referenced copyright registration of the

   Owlwood Mansion Photographs), TopTenRealEstateDeals published a copy of each of eleven (11)

   of the fifteen (15) Owlwood Mansion Photographs on its business website                     (at

   https://toptenrealestatedeals.com/weekly-ten-best-home-deals/home/owlwood-mansion-home-to-

   stars-marilyn-monroe-tony-curtis-cher) in connection with an article titled “Owlwood Mansion:

   Home to Stars Marilyn Monroe, Tony Curtis & Cher”:




          42.    A true and correct copy of screenshots of TopTenRealEstateDeals’ website,

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   displaying the Owlwood Mansion Photographs, is attached hereto as Exhibit “D.” The only

   Owlwood Mansion Photographs not published on TopTenRealEstateDeals’ website are:

   16_other_guest_bed.jpg, 19_twilight_front.jpg, 20190611-3Q4A0534-Edit.jpg, and 20190612-

   3Q4A0692.jpg.

           43.    In addition to displaying the Owlwood Mansion Photographs on its website,

   TopTenRealEstateDeals likewise intentionally induced and/or caused multiple third-parties to

   display/publish all of the Owlwood Mansion Photographs on their websites (including the 4

   photographs     that   do     not     appear      on     TopTenRealEstateDeals’        website)   (e.g.

   https://local12.com/news/around-the-web/gallery/mansion-that-was-home-to-stars-marilyn-

   monroe-tony-curtis-cher-sells-for-115-million?photo=11;

   https://parade.com/1151588/lindsaylowe/owlwood-mansion-for-sale-photos/#gallery_1151588-

   5; etc.).

           44.    Defendants are not and have never been licensed to use, display, or distribute any

   of the Work. Defendants never contacted Plaintiff to seek permission to use the Work in

   connection with their business or for any other purpose.

           45.    Defendants utilized the Work for commercial use – namely, in connection with the

   marketing and advertising of their business.

           46.    Upon information and belief, Defendants located a copy of the Work on the internet

   and, rather than contact Plaintiff to secure a license, simply copied the Work for their own

   commercial use.

           47.    Through his ongoing diligent efforts to identify unauthorized use of his

   photographs, Plaintiff discovered Defendants’ unauthorized use/display of the Work in April 2022.

   Following Plaintiff’s discovery, Plaintiff notified Defendants in writing of such unauthorized use.

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   To date, Plaintiff has been unable to negotiate a reasonable license for the past/existing

   infringement of his Work.

                            COUNT I – COPYRIGHT INFRINGEMENT
                                   (City Centre Photograph)
                                   (TopTenRealEstateDeals)

             48.   Plaintiff re-alleges and incorporates paragraphs 1 through 47 as set forth above.

             49.   The City Centre Photograph is an original work of authorship, embodying

   copyrightable subject matter, that is subject to the full protection of the United States copyright

   laws (17 U.S.C. § 101 et seq.).

             50.   Plaintiff owns a valid copyright in the City Centre Photograph, having registered

   the City Centre Photograph with the Register of Copyrights and owning sufficient rights, title, and

   interest to such copyright to afford Plaintiff standing to bring this lawsuit and assert the claim(s)

   herein.

             51.   As a result of Plaintiff’s reproduction, distribution, and public display of the City

   Centre Photograph, TopTenRealEstateDeals had access to the City Centre Photograph prior to its

   own reproduction, distribution to various third-parties, and public display of the City Centre

   Photograph on its website.

             52.   TopTenRealEstateDeals reproduced, distributed, and publicly displayed the City

   Centre Photograph without authorization from Plaintiff.

             53.   By its actions, TopTenRealEstateDeals infringed and violated Plaintiff’s exclusive

   rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

   displaying the City Centre Photograph for its own commercial purposes.

             54.   TopTenRealEstateDeals’ infringement was willful as it acted with actual

   knowledge or reckless disregard for whether its conduct infringed upon Plaintiff’s copyright.

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   Notably, TopTenRealEstateDeals itself utilizes a copyright disclaimer on its website (“© 2022

   TopTenRealEstateDeals.com,”          indicating    that    TopTenRealEstateDeals          understands     the

   importance of copyright protection and intellectual property. Further, as a media publishing

   company sending weekly articles to over 30,000 business entities, TopTenRealEstateDeals clearly

   understands that high-end photography is generally paid for and cannot simply be copied from the

   internet.

           55.    Plaintiff    has    been      damaged      as   a     direct    and   proximate   result   of

   TopTenRealEstateDeals’ infringement.

           56.     Plaintiff   is    entitled    to   recover     his    actual    damages    resulting    from

   TopTenRealEstateDeals’ unauthorized use of the City Centre Photograph and, at Plaintiff’s

   election (pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to recover damages based on a

   disgorgement of TopTenRealEstateDeals’ profits from infringement of the City Centre

   Photograph, which amounts shall be proven at trial.

           57.    Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

           58.    Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover his costs and

   attorneys’ fees as a result of TopTenRealEstateDeals’ conduct.

           59.    TopTenRealEstateDeals’ conduct has caused and any continued infringing conduct

   will continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

   prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

           WHEREFORE, Plaintiff demands judgment against TopTenRealEstateDeals as follows:

       a. A declaration that TopTenRealEstateDeals has infringed Plaintiff’s copyrights in the City

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           Centre Photograph;

       b. A declaration that such infringement is willful;

       c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

           Plaintiff’s election, an award of statutory damages for willful infringement up to

           $150,000.00 for each infringement of the City Centre Photograph;

       d. Awarding Plaintiff his costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

       e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

       f. Permanently enjoining TopTenRealEstateDeals, its employees, agents, officers, directors,

           attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert and

           participation with TopTenRealEstateDeals, from directly or indirectly infringing Plaintiff’s

           copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

           works derived or copied from the City Centre Photograph or to participate or assist in any

           such activity; and

       g. For such other relief as the Court deems just and proper.

                             COUNT II – COPYRIGHT INFRINGEMENT
                                 (Owlwood Mansion Photographs)
                                     (TopTenRealEstateDeals)

           60.     Plaintiff re-alleges and incorporates paragraphs 1 through 47 as set forth above.

           61.     The Owlwood Mansion Photographs are each an original work of authorship,

   embodying copyrightable subject matter, that is subject to the full protection of the United States

   copyright laws (17 U.S.C. § 101 et seq.).

           62.     Plaintiff owns a valid copyright in the Owlwood Mansion Photographs, having

   registered the Owlwood Mansion Photographs with the Register of Copyrights and owning

   sufficient rights, title, and interest to such copyright to afford Plaintiff standing to bring this lawsuit

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   and assert the claim(s) herein.

           63.    As a result of Plaintiff’s reproduction, distribution, and public display of the

   Owlwood Mansion Photographs, TopTenRealEstateDeals had access to the Owlwood Mansion

   Photographs prior to its own reproduction, distribution to various third-parties, and public display

   of the Owlwood Mansion Photographs on its website.

           64.    TopTenRealEstateDeals reproduced, distributed, and publicly displayed the

   Owlwood Mansion Photographs without authorization from Plaintiff.

           65.    By its actions, TopTenRealEstateDeals infringed and violated Plaintiff’s exclusive

   rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

   displaying the Owlwood Mansion Photographs for its own commercial purposes.

           66.    TopTenRealEstateDeals’ infringement was willful as it acted with actual

   knowledge or reckless disregard for whether its conduct infringed upon Plaintiff’s copyright.

   Notably, TopTenRealEstateDeals itself utilizes a copyright disclaimer on its website (“© 2022

   TopTenRealEstateDeals.com,”          indicating    that    TopTenRealEstateDeals          understands     the

   importance of copyright protection and intellectual property. Further, as a media publishing

   company sending weekly articles to over 30,000 business entities, TopTenRealEstateDeals clearly

   understands that high-end photography is generally paid for and cannot simply be copied from the

   internet.

           67.    Plaintiff    has    been      damaged      as   a     direct    and   proximate   result   of

   TopTenRealEstateDeals’ infringement.

           68.     Plaintiff   is    entitled    to   recover     his    actual    damages    resulting    from

   TopTenRealEstateDeals’ unauthorized use of the Owlwood Mansion Photographs and, at

   Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to recover damages based

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   on a disgorgement of TopTenRealEstateDeals’ profits from infringement of the Owlwood

   Mansion Photographs, which amounts shall be proven at trial.

          69.     Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

          70.     Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover his costs and

   attorneys’ fees as a result of TopTenRealEstateDeals’ conduct.

          71.     TopTenRealEstateDeals’ conduct has caused and any continued infringing conduct

   will continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

   prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

          WHEREFORE, Plaintiff demands judgment against TopTenRealEstateDeals as follows:

      a. A declaration that TopTenRealEstateDeals has infringed Plaintiff’s copyrights in the

          Owlwood Mansion Photographs;

      b. A declaration that such infringement is willful;

      c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

          Plaintiff’s election, an award of statutory damages for willful infringement up to

          $150,000.00 for each infringement of each of the Owlwood Mansion Photographs;

      d. Awarding Plaintiff his costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

      e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

      f. Permanently enjoining TopTenRealEstateDeals, its employees, agents, officers, directors,

          attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert and

          participation with TopTenRealEstateDeals, from directly or indirectly infringing Plaintiff’s

          copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

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         works derived or copied from the Owlwood Mansion Photographs or to participate or assist

         in any such activity; and

     g. For such other relief as the Court deems just and proper.

                  COUNT III – VICARIOUS COPYRIGHT INFRINGEMENT
                                       (Walsh)

          72.    Plaintiff re-alleges and incorporates paragraphs 1 through 47 as set forth above.

          73.    As evidenced above, TopTenRealEstateDeals infringed and violated Plaintiff’s

   exclusive rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing,

   and publicly displaying the Work for its own commercial purposes.

          74.    As the sole member and manager of TopTenRealEstateDeals, Walsh the right and

   ability to control the infringing acts of TopTenRealEstateDeals, yet declined or failed to stop

   TopTenRealEstateDeals from engaging in its infringing conduct.

          75.    Walsh obtained a direct financial benefit from TopTenRealEstateDeals’ infringing

   activities. As the sole member and manager of TopTenRealEstateDeals, Walsh receives profit

   distributions therefrom and, upon information and belief, pays himself a salary therefrom.

          76.     As a direct and proximate result of Walsh’s vicarious copyright infringement,

   Plaintiff has been damaged. See, e.g. Broad. Music, Inc. v. Evie's Tavern Ellention, Inc., No.

   8:11-cv-2056-T-17TBM, 2011 U.S. Dist. LEXIS 137720, at *5-8 (M.D. Fla. Nov. 30, 2011)

   (“Because Defendants, Evie's and Evanoff, benefited from the performances and admitted they

   owned, controlled, managed, and operated Evie's, they are vicariously liable for the

   infringement.”); LaTele TV C.A. v. Telemundo Communs. Grp., LLC, No. 12-22539-CIV-

   ROSENBAUM, 2013 U.S. Dist. LEXIS 43488, at *32 (S.D. Fla. Mar. 26, 2013) (“[P]leading

   facts sufficient to pierce the corporate veil is not required in order to state a cause of action for

   vicarious copyright infringement.”).
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          WHEREFORE, Plaintiff demands judgment against Walsh as follows:

      a. An award of actual damages and disgorgement of profits as the Court deems proper or, at

          Plaintiff’s election, an award of statutory damages for willful infringement up to

          $150,000.00 for each infringement of the Work;

      b. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

      c. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

      d. Permanently enjoining Walsh, his employees, agents, officers, directors, attorneys,

          successors, affiliates, subsidiaries and assigns, and all those in active concert and

          participation with Walsh, from directly or indirectly further violating Plaintiff’s copyrights

          by further displaying or distributing the Work with its copyright management information

          removed; and

      e. For such other relief as the Court deems just and proper.



                                               Demand For Jury Trial

   Plaintiff demands a trial by jury on all issued so triable.

                                                        COPYCAT LEGAL PLLC
    Dated: June 28, 2022.                               3111 N. University Drive
                                                        Suite 301
                                                        Coral Springs, FL 33065
                                                        Telephone: (877) 437-6228
                                                        dan@copycatlegal.com
                                                        james@copycatlegal.com

                                                        By: /s/ Daniel DeSouza_____
                                                                Daniel DeSouza, Esq.
                                                                Florida Bar No.: 19291
                                                                James D’Loughy, Esq.
                                                                Florida Bar No.: 0052700




                                                        22
                                               COPYCAT LEGAL PLLC
                           3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                             TELEPHONE (877) 437-6228
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                                            Exhibit “A”
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                                            Exhibit “B”
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Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Copyright Number = VA0002201948
Search Results: Displaying 1 of 1 entries




                                                 Jul-Dec 2019.

              Type of Work: Visual Material
Registration Number / Date: VA0002201948 / 2020-03-29
           Application Title: Jul-Dec 2019
                       Title: Jul-Dec 2019. [Group registration of published photographs. 442 photographs. 2019-
                              06-15 to 2019-09-30]
                 Description: 442 photographs : Electronic file (eService)
       Copyright Claimant: Michael Kelley, 1987- . Address: 11316 Matteson Ave, Los Angeles, CA, 90066,
                              United States.
           Date of Creation: 2019
   Publication Date Range: 2019-06-15 to 2019-09-30
 Nation of First Publication: United States
 Authorship on Application: Michael Kelley, 1987- ; Domicile: United States; Citizenship: United States.
                              Authorship: photographs.
    Rights and Permissions: Michael Kelley, 11316 Matteson Ave, Los Angeles, CA, 90066, United States, (978)
                              771-1311, mike@mpkelley.com
            Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond
                              to the individual photographs included in this group.
                              Regarding group registration: A group of published photographs may be registered
                              on one application with one filing fee only under limited circumstances. ALL of the
                              following are required: 1. All photographs (a) were created by the same author AND
                              (b) are owned by the same copyright claimant AND (c) were published in the same
                              calendar year AND 2. The group contains 750 photographs or less AND 3. A
                              sequentially numbered list of photographs containing the title, file name and month
                              of publication for each photograph included in the group must be uploaded along
                              with other required application materials. The list must be submitted in an approved
                              document format such as .XLS or .PDF. The file name for the numbered list must
                              contain the title of the group and the Case Number assigned to the application.
               Photographs: Published in June 2019 (82 photographs): 09_elevator, 20190607-3Q4A9898,
                              20190606-27_wide_elevated_twilight_foggy-Edit, 20190606-28_wide_fog_pool,
                              20190607-32_one_point_south, 20190607-33_elevated_daylight_north, 20190607-
                              DJI_0270-Edit, 20190607-DJI_0320-Edit, 20190607-34_office, 20190607-
                              3Q4A0066, 20190607-DJI_0350-Edit, 20190607-3Q4A0080-HDR-Edit, 20190607-
                              36_kitchen_detail, 20190607-39_pool_golden, 20190607-3Q4A0126, 20190607-
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                     DJI_0418-Edit, 20190607-DJI_0445-Edit, 20190607-DJI_0460-Edit,
                     40_twilight_figure-1-Edit, 20190607-41_self_portrait-Edit, 20190606-
                     29_oblique_fog-Edit, 20190606-30_entry_fog, 20190607-41_self_portrait,
                     01_Office, 04_LR_wide, 05_LR_oblique, 07_stairs, 10_rear_oblique-Edit,
                     10_rear_oblique, 09_rear_elevation, 11_sitting_room-Edit, 13_master_lounge,
                     20190605-02_foggy_one_point_reverse, 20190605-10_upstairs_angle_sun,
                     08_hallway, 20190611-3Q4A0502-Edit, 20190611-3Q4A0505-Edit, 20190612-
                     3Q4A0677, 20190612-3Q4A0683, 24_poolhouse_1_pt,
                     01_golden_hr_view_through, 25_poolhouse_interior, 02_cantilever-Edit,
                     04_dining_room, 05_stairs_and_living, 06_kitchen_view-Edit, 07_entry_view_tight-
                     Edit, 20190605-3Q4A9447-Edit, 20190605-10_fog, 20190605-11_kitchen_1pt,
                     20190605-13_thru_kitchen-Edit, 20190606-3Q4A9609, 20190606-14_exterior_tree,
                     15_guest_bed, 20190611-3Q4A0493-Edit, 20190606-15_exterior_one_pt_day,
                     20190606-16_hers, 20190606-17_his, 20190607-37_master_north, 20190606-
                     22_tub_one_pt, 20190606-19_stairs_sun, 20190606-21_master_bath_angle,
                     20190606-23_junior_master, 20190606-24_jr_master_tub, 20190605-12_mini_bath,
                     10_guest_room, 20190605-09_upstairs_lounge, 20190605-05_basement_stairs-2,
                     20190605-06_basement_entertainment, 20190605-04_basement_bar, 20190605-
                     03_spa, 20190605-02_movie_theatre, 20190605-05_stairs, 22_master_bath,
                     20190612-3Q4A0618-HDR, 20190612-3Q4A0609, 20_twilight_rear,
                     19_twilight_front, 18_poolhouse, 17_upper_hallway, 16_other_guest_bed,
                     20190606-13_bare_stairs
                     Published in June 2019 (42 photographs): 20190605-14_twilight_wide, 20190605-
                     07_living_room, 20190605-3Q4A9317-Edit, 20190605-08_kitchen_sunlight,
                     20190605-04_foggy_hallway, 20190605-03_kitchen_oblique, 20190605-
                     11_morning_fog_again-Edit, 20190605-11_morning_fog_again-Edit-Edit,
                     20190605-01_foggy-one-point_(1)-Edit, 20190605-08_frontyard,
                     08_entry_view_wide-Edit, 03_stairs_golden-Edit, 20190612-3Q4A0692, 20190612-
                     3Q4A0666-Edit, 21_poolhouse_daytime, 20190611-3Q4A0534-Edit,
                     14_master_bed, 14_master_bed-Edit, 12_bathroom_lounge, 20190612-3Q4A0623-
                     HDR-Edit, 06_stairs, 02_dining, 20190605-15_foggy_wide_twi, 20190607-
                     DJI_0488-Edit, 20190607-DJI_0358-Edit-2, 20190607-3Q4A0106, 20190607-
                     35_living_one_point, 20190607-DJI_0282-Edit, 20190607-31_south_rear_day,
                     20190606-26_sitting-stairs, 20190605-06_stairs_again, 20190605-07_bar_detail,
                     20190605-05_basement_stairs, 20190606-25_jr_master_wide, 20190606-20_dining,
                     20190605-01_stairs_fog, 20190605-01_foggy-one-point_(1)-Edit-Edit, 20190605-
                     09_wine, 20190605-12_sitting_room_view, 20190606-13_bare_stairs-2, 20190606-
                     18_master, 20190607-38_master_south-Edit
                     Published in July 2019 (84 photographs): 20190827-03_tub_detail, 20190827-
                     05_another_stairs-2, 20190827-05_another_stairs, 20190827-06_dining_room,
                     20190827-08_bathroom, 20190827-09_entry, 20190827-10_entry_detail, 20190827-
                     11_entry_exterior, 20190827-13_fireplace_storm_no-figure, 20190827-14_rear_ext,
                     20190827-15_entry_tight, 20190827-20_front_oblique, 20190827-17_door_twi,
                     20190827-18_fireplace_twilight, 20190827-19_bar, 20190828-02_low_front,
                     20190828-03_cantilever, 20190828-04_wall, 20190828-06_tree_oblique, 20190828-
                     07_one_point_frontal, 20190828-08_pool_twilight, 20190828-10_main_level,
                     20190830-16_entry_wide, 04_suite_104, 02_villa_63_bedroom, 04_suite_104_pool,
                     03_villa_63_bathroom, 06_studio_108_living_room, 07_studio_108_bathroom,
                     20190831-3Q4A2269-Edit, 10_villa_93_bathroom-Edit,
                     11_renovated_villa_bathroom, 13_renovated_villa_living_room,
                     15_business_queen_bathroom, 16_business_queen_alternate_bathroom,
                     17_business_queen_detail, 18_presidential_suite_piano_room,
                     21_penthouse_bedroom, 22_penthouse_bathroom, 24_penthouse_piano,
                     20_presidential_suite_master, 23_penthouse_kitchen, 25_garden_villa_living_room,
                     27_double_room_bathroom, 09_kids_room, 07_bathroom, 08_entry-4-2-2,
                     02_dining-2, 20190820-15_rear_deck, 03_kitchen, 04_bathroom, 05_master,
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                     07_stairs-2, 08_black_room, 09_living, 11_rear-2, 11_rear, 01_bedroom,
                     03_living_room_sun_wall, 04_Driveway, 05_entry, 07_guest_bedroom,
                     08_living_room, 10_hangar_door, 20190804-DJI_0534, 20190804-DJI_0537,
                     11_corner, 12_pool, 20190820-01_bedroom_mountain, 20190820-
                     03_single_exposure_detail, 20190820-04_front_exterior, 20190820-
                     05_pink_bedroom, 20190820-07_sitting_room, 20190820-08_stairs, 20190820-
                     08_stairs_no-figure, 20190820-10_bar, 20190820-11_rear_daylight-Edit, 20190820-
                     12_kitchen-Edit, 20190820-13_golden_hr_oblique_rear, 20190820-
                     14_golden_hr_one_point, 20190820-16_living_room, 20190820-17_stairs_oblique,
                     20190820-18_bedroom_entry, 20190820-20_entry
                     Published in July 2019 (101 photographs): 20190820-21_pool_length, 20190820-
                     22_swing, 20190820-24_side_twi, 20190820-24_side_twi-2, 20190820-
                     25_cantilever-Edit, 20190820-25_cantilever_no-figure, 01_front, 02_detail,
                     01_outside, 02_entry-2-Edit, 04_breakaway, 05_breakaway_detail, 06_bathroom,
                     01_oblique-Edit, 02_one_point, 03_detail, 08_meeting_space, 09_conf_room_1pt,
                     09_conf_room_1pt-2, 11_executive_suite, 20190822-01_overall_bar, 20190822-
                     03_bathroom, 20190822-04_trough, 20190822-05_corner_art, 20190822-
                     07_private_dining, 20190822-07_private_dining-2, 01_Game_Room-2, 02_entry,
                     02_entry-2, 03_living_bar, 05_oblique_outdoor-2, 05_oblique_outdoor,
                     06_bathroom-2, 08_pool, 09_walkway, 11_fire_in, 12_bar_night, 01_living_room,
                     02_living_room_detail-2, 03_dining_room, 04_outdoor_seating-2, 06_brackets,
                     01_nook, 01_rear_patio_tree, 02_rear_patio, 03_living_room_overall-2-2-2-2,
                     04_dining_room_detail, 08_living_room_reverse, 08_living_room_reverse-2,
                     09_entry-2, 11_bath_1pt-2, 12_rear_daylight-2-Edit, 13_rear_daylight-2,
                     15_entry_1_pt_day-2, 16_sitting_room-2, 18_bar_straight_on, 19_bar_across,
                     20_stairs, 22_upstairs_family_room, 23_kids_room, 24_bathroom,
                     26_front_twilight, 26_front_twilight-2, 27_front_twi_oblique, 28_front_gate-2,
                     29_rear_through_trees, 30_side_1_pt, 02_entry-3, 03_door, 05_master_hallway,
                     06_rear_entry, 07_living_room, 09_front_door_water_detail, 10_entry_hall,
                     11_terrarium-2, 12_rear_detail, 13_master_pool, 14_cantilever_corner,
                     16_front_oblique, 17_entry_detail_1pt, 18_rear_slash-2-2-2, 19_cantilever_golden-
                     Edit, 19_cantilever_golden, 21_rear_overal-3-3, 22_twilight_pool,
                     23_front_oblique_twi, 24_front_one_pt, 20190827-01_tree, 06_pink, 10_front,
                     02_master_lounge, 06_one_point_hallway, 09_sitting_room_golden_hr, 20190804-
                     DJI_0543, 20190820-02_bedroom_with_shit_view, 06_pink_bedroom_art,
                     20190820-09_basement, 20190820-11_rear_daylight, 20190820-25_cantilever,
                     02_detail-2, 03_desk
                     Published in July 2019 (58 photographs): 07_c-suite_entry-2, 03_detail-2,
                     10_conf_room_2pt, 20190822-02_back_corner, 20190822-06_entry,
                     01_Game_Room, 04_outdoor_seating, 07_firepit_view, 10_living_room_twilight,
                     02_living_room_detail, 05_exterior, 07_master, 08_bath, 01_jr_suite,
                     02_master_suite-Edit, 04_living, 03_living_room_overall-2-2-2-2-2,
                     05_master_bed-3-3-3-3, 06_master_patio-4-4-4-4, 14_entry_oblique_day-2,
                     17_sitting_room_one_pt, 21_family_room, 25_tv_carpetnry, 28_front_gate,
                     01_dining_room_1pt, 04_dining_oblique, 08_front_door, 11_terrarium,
                     15_entry_golden, 18_rear_slash-2-2, 20_cantilever_pool_detail, 02_rear_daylight,
                     20190827-04_stairs, 20190827-07_living_room, 12_living_room_bar, 20190827-
                     13_fireplace_storm, 20190827-17_door_twi-2, 20190828-01_elevated_front,
                     20190828-05_pool, 20190828-09_entry, 01_Villa_63_living_room_1,
                     05_suite_104_bedroom, 09_villa_93_bedroom, 12_renovated_villa_bedroom,
                     14_business_queen_bedroom, 19_presidential_suite_little_bedroom,
                     20_presidential_suite_master-2, 26_garden_villa_bathroom, 28_double_room,
                     20190820-19_bedroom, 20190820-23_rear_ext, 03_dining, 04_living-2,
                     05_living_window-Edit, 06_bar-3-2, 09_hallway, 07_dining_room_overall,
                     10_bath_across-2
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                        Published in September 2019 (75 photographs): 28_window_track,
                        26_kitchen_sunlight, 25_hallway_to_view, 24_living_stairs, 26_dining_table_detail,
                        25_pillar_golden, 24_bookshelf, 22_yellow_chair, 21_blue_couch-Edit,
                        20_lots_of_plants, 19_corner_fog, 18_twilight_view, 17_stairs, 15_bar, 15_bar_no-
                        figures, 14_orange_couch, 13_yellow_chair, 12_breakaway_room_daylight,
                        10_glass_corner_daylight, 10_glass_corner_daylight_with-figure, 09_bathroom-
                        Edit, 08_piano_and_bar_no-figures, 07_couch_corner, 06_ottoman_situation,
                        04_hallway_detail, 03_conf_room_morning_inside, 02_hallway_morning,
                        20190908-DJI_0623, 31_front_twilight, 22_entry_reverse, 20_stairs-2, 20190908-
                        DJI_0576, 20190908-DJI_0564, 19_office, 20190908-DJI_0554, 17_gym,
                        16_dining, 14_living_room_night-Edit, 12_rear_obl, 20190908-DJI_0615,
                        01_entry_wide_daylight-2, 29_double_room_living_room, 02_entry_tight_daylight-
                        2, 02_entry_tight_daylight, 13_master_bed, 04_living_room_daytime,
                        07_hallway_upstairs, 08_secondary_bedroom, 15_rear, 09_master_bed,
                        10_wine_cellar, 18_entry, 01_morning_conference_room_wide-Edit,
                        01_entry_wide_daylight, 03_downstairs_bathroom, 05_formal_sitting,
                        06_sitting_and_entry, 11_rear_exterior, 20190908-DJI_0570, 23_kitchen_dining,
                        27_picture_window, 20190908-DJI_0597, 30_patio,
                        01_morning_conference_room_wide, 05_morning_corner, 08_piano_and_bar,
                        11_chair, 14_orange_couch_no-figures, 19_corner_fog_no-figure,
                        23_golden_gate_fog, 27_upstairs_twilight, 16_conference_golden, 20190908-
                        DJI_0610, 29_kitchen_stairs, 28_window_track_no-figure
                     Names: Kelley, Michael, 1987-




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                                            Exhibit “C”
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                                           Exhibit “D”
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